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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

                                               *
UNITED STATES OF AMERICA                       *
                                               *               NO: 4:03CR00153-3 SWW
                                               *
VS.                                            *                NO: 4:08CV00375 SWW
                                               *
                                               *
GREGORY CALDWELL                               *


                                             ORDER

       By order entered August 5, 2008, the court dismissed, as time-barred, Petitioner Gregory

Caldwell’s motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. On

August 13, 2008, Caldwell filed a notice of appeal. The Eighth Circuit denied Caldwell’s

application for a certificate of appealability, and Caldwell petitioned the United States Supreme

Court for a writ of certiorari, which was denied. Now before the Court is Caldwell’s motion for

reconsideration (docket entry #288). After careful consideration, and for reasons that follow, the

motion is denied.

       The Eighth Circuit has instructed district courts, in dealing with purported Rule 60(b)

motions following the dismissal of habeas petitions, to determine whether the movant’s

allegations amount to a second or successive collateral attack under either 28 U.S.C. § 2255 or

§ 2254. See Boyd v. United States, 304 F.3d 813, 814 (8th Cir. 2002). If it is determined that the

motion is actually a second or successive habeas petition, it should be dismissed for failure to

obtain authorization from the Court of Appeals or, in its discretion, the district court may transfer

the purported Rule 60(b) motion to the Court of Appeals. “Depending on which course of action


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the district court chooses, the petitioner may either appeal the dismissal of the purported Rule

60(b) motion or, if the district court has elected to transfer the purported 60(b) motion to the

Court of Appeals, await the action of the Court of Appeals.” Id.

       In support of his motion for reconsideration, Caldwell reasserts an argument that he

presented in his reply in support of his motion under § 2255: that the statute of limitations for

filing a motion under § 2255 was tolled when he appealed from the amended judgment in the

underlying criminal case. Because Caldwell asks the Court to reconsider a non-merits issue, his

motion will not be treated as a successive petition. See Gonzalez v. Crosby, 545 U.S. 524, 534,

125 S.Ct. 2641, 2649 (2005)(noting that a motion challenging a non-merits aspect of the first

federal habeas proceeding, is not considered a successive habeas petition).

       In support of his motion to reconsider pursuant to Rule 60(b) of the Federal Rules of

Civil Procedure, Caldwell merely reasserts arguments previously rejected by this Court. Finding

no basis for reconsideration, the motion (docket entry #288) is DENIED.

       IT IS SO ORDERED THIS 1ST DAY OF JULY, 2010.

                                                      /s/Susan Webber Wright

                                                      UNITED STATES DISTRICT JUDGE




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